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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                       Case No. 20-cr-207 (JRT/HB)

UNITED STATES OF AMERICA,               )
                                        )
                    Plaintiff,          )
                                        )
       v.                               )    ORDER FOR CONTINUED
                                        )    DETENTION
ROMELLE DARRYL SMITH,                   )
                                        )
                    Defendant.          )



      Defendant Romelle Darryl Smith is charged by indictment with one count of

possessing a firearm as a felon and armed career criminal, in violation of 18 U.S.C.

§§ 922(g) and 924(e)(1). The matter came before the Court on February 9, 2020, on

Mr. Smith’s motion to reopen detention pursuant to 18 U.S.C. § 3142(f)(2). Mr. Smith

consented to appear at the hearing via videoconference, and he was represented by

Glenn Bruder. The government was represented by Assistant U.S. Attorney Sarah

Hudleston.

      At his initial hearing, Mr. Smith waived the issue of detention based on a hold

with the Minnesota Department of Corrections and pending criminal charges in

Hennepin County. Mr. Smith reserved the right under § 3142(f)(2) to reopen his

detention hearing if circumstances changed, and so moved on January 11, 2021. The

Court found that the expiration of the DOC hold and Mr. Smith’s possible ability to

post bail in Hennepin County were changed circumstances sufficient to reopen

detention and hold a second hearing.
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      After consideration of the Indictment, the Pretrial Services reports, the exhibits,

the proffers and arguments of counsel, and the factors of 18 U.S.C. § 3142(g), the Court

orders that Mr. Smith remain detained. The Court concludes by clear and convincing

evidence that no condition or combination of conditions of release will reasonably

assure the safety of the community if Mr. Smith is released pending trial. The Court

further concludes by a preponderance of the evidence that no condition or

combination of conditions of release will reasonably assure Mr. Smith’s appearance as

required at future Court proceedings.

                               FINDINGS OF FACT

           In 2016 Mr. Smith was convicted of Second-Degree Dangerous Weapon-

Substantial Bodily Harm for shooting the victim in the stomach after an argument.

Since that time, Mr. Smith has displayed a relentless pattern of violations of and

failures to comply with his conditions of release. Through 2019 and 2020, before being

arrested on the instant charges in July 2020, Mr. Smith was consistently non-compliant

with the court’s rules. On several occasions during his release, Mr. Smith was placed

in reentry chemical health programs and immediately absconded or failed to comply

with the programming. Mr. Smith has a history of substance abuse, including

probation violations for positive drug tests, but has not availed himself of these

opportunities for treatment. Instead he continued to amass warrants and arrests for

new crimes.

           Approximately five weeks after his release from prison for the 2016 Second-

Degree Dangerous Weapon-Substantial Bodily Harm conviction, Mr. Smith was
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arrested for receiving stolen property. Nine days later he was arrested for Gross

Misdemeanor Possession of a BB gun and less than two months after that, in

December 2019, he was arrested in Duluth, Minnesota and found to have an

outstanding warrant. Mr. Smith was detained at this time and release on June 18,

2020. Two days later he absconded from supervision and was arrested one month

later, on July 20, 2020. It is from this arrest that the instant charges arise.

           There is a high probability that Mr. Smith will face a sentence under the

ACCA and this creates a strong incentive to flee. Additionally, the bond reports note

Mr. Smith’s regular methamphetamine use. All of this is interwoven with Mr. Smith’s

very troubling criminal history involving firearms and the record compels a finding

that detention is necessary.

                               CONCLUSIONS OF LAW

       Based on the foregoing and in consideration of the factors of 18 U.S.C.

§ 3142(g), the Court finds by the preponderance of the evidence that no condition or

combination of conditions will reasonably assure the appearance of Mr. Smith as

required. The Court further finds by clear and convincing evidence that no condition

or combination of conditions will reasonably assure the safety of the community

should Mr. Smith be released pending trial.

       Accordingly, the defendant’s motion for pretrial release is DENIED.

       IT IS HEREBY ORDERED that:




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      1.       Mr. Smith remains committed to the custody of the United States

Marshal for confinement in a correctional facility separate, to the extent practicable,

from persons awaiting or serving sentences or being held in custody pending appeal;

      2.       Mr. Smith shall be afforded reasonable opportunity to consult privately

with his lawyer; and

      3.       Upon order of the Court, the person in charge of the correctional facility

in which Mr. Smith is confined shall deliver him to the United States Marshal for the

purpose of appearance in connection with all court proceedings.



 Dated: February 11, 2021                       s/ Katherine M. Menendez
                                                KATHERINE M. MENENDEZ
                                                United States Magistrate Judge




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